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                           Exhibit A




                                                                Exhibit A Page 1
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 5                     UNITED STATES DISTRICT COURT
 6                FOR THE EASTERN DISTRICT OF WASHINGTON

 7

 8     NICOLAS ROLOVICH,                           CASE NO: 2:22-CV-00319-TOR
 9                         Plaintiff,              DECLARATION OF NICHOLAS
10                  v.                             ROLOVICH

11     WASHINGTON STATE
       UNIVERSITY,
12

13                         Defendant.
14

15         1.     My name is Nicholas Rolovich. I am over the age of eighteen,
16
     competent to testify, and make this declaration based on my personal knowledge.
17

18
           2.     I first met Fr. Paul Heric in July 2021.

19         3.     Fr. Paul is a Catholic priest and was at the time the Chaplain of the
20
     St. Thomas More Catholic Cougs Student Center at WSU.
21

22
           4.     I was introduced to Fr. Paul through one of my football players,

23   Liam Ryan, who encouraged me to talk to Fr. Paul and gave me his cell phone
24
     number.
25

26




     DECLARATION OF NICHOLAS ROLOVICH - 1
                                                                        Exhibit A Page 2
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 1         5.     After I first reached out to Fr. Paul, our relationship developed
 2
     through text messages, phone calls, and time spent together in person.
 3

 4         6.     Our conversations covered a wide range of topics including my

 5   Catholic faith; how to understand my obligations as father, husband, and coach;
 6
     how to be a spiritual leader for others; and how to help our athletes deal with
 7

 8   adversity and loss.
 9         7.     Father Paul quickly became a friend and someone I looked to for
10
     advice and encouragement.
11

12         8.     I credit Father Paul with helping me reconnect with the Catholic
13   faith of my youth and grow closer to God.
14
           9.     As part of our conversations, I asked for Fr. Paul’s spiritual direction
15

16   and advice as I struggled with what to do in response to the pressure I was under
17   to get a COVID-19 vaccine.
18
           10.    At first, Fr. Paul encouraged me to comply with WSU’s wishes and
19
20   get vaccinated.
21         11.    However, as I continued to share my thoughts and concerns with
22
     Father Paul, he told me I needed to understand my decision about the vaccine in
23

24   light of the Catholic Church’s teaching on my religious obligation to form and
25
     then follow my conscience.
26




     DECLARATION OF NICHOLAS ROLOVICH - 2
                                                                          Exhibit A Page 3
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 1         12.    Fr. Paul shared with me selections from the Catholic Catechism on
 2
     the conscience and encouraged me to spend time with them.
 3

 4         13.    Fr. Paul also shared with me moral guidance related to COVID-19

 5   vaccines developed by the Diocese of Spokane.
 6
           14.    Fr. Paul encouraged me to talk to my bishop, Bishop Daly, about
 7

 8   how my Catholic faith related to my decision on the COVID vaccination.
 9         15.    At Fr. Paul’s prompting, I reached out to and spoke with my bishop.
10
           16.    It was through Fr. Paul’s counsel and my study of the materials he
11

12   sent me that I came to understand that I had a religious obligation as a Catholic
13   to follow my conscience and decline to take a COVID vaccination.
14
           17.    On several occasions, Fr. Paul encouraged me and prompted me to
15

16   submit a request for religious exemption to WSU.
17         18.    Fr. Paul continues to be a friend and mentor I rely on for spiritual
18
     direction and encouragement.
19
20         I declare under penalty of perjury that the foregoing is true and correct.
21         EXECUTED this 23rd day of September 2024, at Novato, California.
22

23

24
                                                   Nicholas Rolovich
25

26




     DECLARATION OF NICHOLAS ROLOVICH - 3
                                                                        Exhibit A Page 4
